 1                                                               The Honorable John C. Coughenour

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 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
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 9   THE DUWAMISH TRIBE, et al.,
                                                         No. 22-cv-0633 (JCC)
10                                       Plaintiffs,
                                                         DEFENDANTS’ PROPOSED
11          v.                                           SCHEDULING ORDER

12   DEB HAALAND, et al.,

13                                     Defendants.

14

15          UPON CONSIDERATION of the Parties’ August 31, 2022, Joint Status Report, and the

16   entire record herein, it is HEREBY ORDERED that the following schedule shall govern further

17   proceedings in this litigation:

18   Administrative Record

19          Federal Defendants shall transmit the Administrative Record to Plaintiffs and file notice

20   thereof by August 31, 2022. Plaintiffs will notify Federal Defendants of any alleged deficiencies

21   or other disputes regarding the sufficiency of the administrative record by September 28, 2022,

22   and Federal Defendants will provide a response to Plaintiffs regarding any issues regarding the

23   Administrative Record by October 7, 2022. If the Parties are unable to resolve issues related to

24   the sufficiency of the Administrative Record, the following briefing schedule shall apply:

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                                                                                         U.S. DEPT. OF JUSTICE
     DEFENDANTS’ PROPOSED SCHEDULING ORDER                                          ENVIRONMENT & NATURAL
                                                                                         RESOURCES DIVISION
     CASE NO. 22-CV-0633 (JCC) - 1                                                                150 M St NE
                                                                                         Washington, DC 20002
                                                                                                 202-305-0420
 1                      o Plaintiffs Motion to Supplement or Complete the Administrative
                          Record: due by October 21, 2022.
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                        o Federal Defendants’ opposition: due by November 10, 2022.
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 4                      o Plaintiffs’ reply: due by November 22 2022.

 5   Summary Judgment

 6          It is FURTHER ORDERED that the following summary judgment schedule

 7   shall govern the disposition of Plaintiffs’ claims:
 8          •       Plaintiffs’ Motion for Summary Judgment: due 60 days from the Court’s
 9                  ruling on Plaintiffs’ Motion to Supplement/Complete, or

10                      o If no Motion to Supplement/Complete is filed, Plaintiffs’ Motion
                          for Summary Judgment due by December 1, 2022.
11
            •       Federal Defendants’ combined Opposition/Cross-Motion for Summary
12                  Judgment: due 60 days from Plaintiffs’ Motion for Summary Judgment.
13
            •       Plaintiffs’ combined Opposition/Reply: due 30 days from Federal
14                  Defendants’ Cross-Motion.

15          •       Federal Defendants’ Reply: due 30 days from Plaintiffs’ combined
                    Opposition/Reply.
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17   SO ORDERED this 1st day of September 2022.
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                                                           A
                                                           John C. Coughenour
21                                                         UNITED STATES DISTRICT JUDGE
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                                                                                      U.S. DEPT. OF JUSTICE
     DEFENDANTS’ PROPOSED SCHEDULING ORDER                                       ENVIRONMENT & NATURAL
                                                                                      RESOURCES DIVISION
     CASE NO. 22-CV-0633 (JCC) - 2                                                          150 M Street NE
                                                                                       Washington, DC 20002
                                                                                               202-305-0420
